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7                     UNITED STATES DISTRICT COURT
8                    CENTRAL DISTRICT OF CALIFORNIA
                                    ****
9    UNITED STATES OF AMERICA, )
10                                  )
                    Plaintiff,      )
11                                  )   CASE NO. 2:24-CR-00091-ODW
12   v.                             )
                                    )
13   ALEXANDER SMIRNOV,             )
14                                  )
                    Defendant,      )   [PROPOSED] ORDER
15   _______________________________)
16
           Upon reviewing Defendant’s Motion to Reopen the Detention Hearing and to
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18   Impose New Conditions of Pretrial Release, and with good cause appearing, said
19
     Motion is GRANTED, as follows below.
20
           The Court ORDERS that the Amended Order of Detention (ECF No. 57) be
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22   reopened; and
23
           The Court FURTHER ORDERS that Defendant be released from custody,
24
     pursuant to the following conditions:
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26         [Add conditions of release.]; and
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     Case 2:24-cr-00091-ODW        Document 73-3 Filed 05/23/24   Page 2 of 2 Page ID
                                            #:1149


1           The Court FURTHER ORDERS that this matter be set for a hearing on June
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     ____, 2024, at ___:____ a.m./p.m., in Courtroom 5-D at the First Street Courthouse
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4    in Los Angeles, California.
5          IT IS SO ORDERED.
6
           Dated:
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9                                     ____________________________________
10                                    Honorable Otis D. Wright II
                                      United States District Judge
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